                     Case 4:18-cr-00534-DPM Document 50-3 Filed 10/12/21 Page 1 of 3




812412017  19:38    8124t2O17 19:38 h{lps://api.textnow.meimedia/?h=19fl9foef6ta8a+3acdi7ZalcOaO7afb1dfd51959ae9cd7e3d86743feob8e78
812412017  19t38    812412017 19:38 Send me urs
812412017 19 40     AXXXXXXXX 19:40 Hi
812412017 19:40     812412017 1g:41ca.lseeanudeof youtoo?:.t:r                                                                                                                                ''               ,:lj:,t'.:,i   ::i:..:i .          ....,t.
Al24l2O17 19142     Al24l2O17 19:42 https://api.textnow. me lmedial?h=2c4c35dl5f08bee5S1 6 829e08c0d f60a88ba901 5f1 el8538eB596aob1 ca4c
                                                                                                     1             1

812412017 19:42     812412017 19:42 I can try an send 1 after schoo,
812412017 19:42     AXXXXXXXX 19142 R u at work? Lol
8l24l201719:458l24l201719|43Yes:;:::.:.::i:.::.--::...:.:.-..:]:-.i
8t24l2|'17 1s:45    8t24t2017 19:45 Oir.i6 aon'i git tr.r"o @
812412017 19:47     Al24l2O17 19:47 I wish u culd come get me today. i wanna try doing it wit a guy. Does it hurt?
Al24l2O1719:44      812412017 19:4A [,4onday is cool 2

Al24l2O17 19:50           812412017 19150 ls it gonna huri?
812412017 19:50           812412017 19:50 Ok I will aflerschool
          19:51                                                                                                                                                                                            ..,::
812412017                812412A17'19.51.C€nyoutakeapicshowlgy9!tie.4iJebodlairdfae? WEAre-goingtoaravealotof                              fuin.                  '. ,..." :.                 ,                    ::         .i::,.
Bl24l2O17 19:52          at24l2o17 19:52 I ionlwanni send a bun;h pi;s until I kno u cuz u culd be a s@m orwutevern no one knom t'm gay
412412017 19.52          al24/2017 19:52 l'll send u my dick pic after school tho
Al24l2O17 19:54          a12412017 19154 I shored u my face
812412017 19:54          AXXXXXXXX 19:54 Can I see urc
812412017 19:55          812412017 19:55 Wuls it feel like in ur butt?
812412017 19:56          812412017 19:56 U he1
81241201719:57           al24l2o1719:57llteelsreallygoodon@laminsideyourasi-                 Wd,willgoslow.             :                                                   ..,                   ,.1:1,1;:.:l;
                                                                                                                                                                                                                      .       :.1    :        . .:,
812412017 19:57          Al24l2O17 19:57 lt hurt at f:rst?
812412017 19:58          812412017 19:58 Kjnda neryous bout that        @@

812412017    20:05       812412017 2O:O5 U ever do ii before to someone who never did it?

8124120'1720:08          812412017 20.08 Did it hurt?
812412017 20:0A          Al24l2O17 20.0A Was he same age or older iho
812412017 20:10          Al24l2O17 20,10 Am I bugging u lol
812412017 2O.1O          8124t2O17 20:10 Sotry
8t2412017 20:11          8124t2O17    20:11 llewas 16
Al24t2O17 20:11          8t24t2017 20:11 Cool
8l24D01720:12al24l2o172o:12l1owoId-re€youw.!F-.nyou.uckedyoU.,i61?-How.oldres!e?
8124/2017 20:12          812412017 20:12 I can stay out laler tonight cuz I golla stay wil my uncle an he works at night. That why I asked if u culd tonight
8124120'1720.13          Al24l2ol7 20:13 11 was ihis year so I was 15
812412017 20:13          812412017 20:13 Hewas 14
812412017 2A:13          Al24l2O17 20:13 How old was u? And how old was he?
                                                                                                                                                , :,         .-                           .,:,:-.::,:                         '.,.
A1241201720:13           A1241201720113     Didy6usckeacholher?                                                                 .:,.,                          , : ...., -.,,,                                                                            r   ::

812412017 20:14          al24l2l17 20:14 Not at same time but yea
a124120172o114           812412o1720:l4,tw.i44 nyunclems3osomething                  . _ ......                                                 .        ::,. .::.:.:i:.: '                                                                      :.::.
812412017 20115          a12412017  20:15 7 OMFG
812412017 20115          812412017  20:15 Culd u gel a boner even
812412017 20:15          812412017  20:15 I never sallowed tho yet haha
812412017 20118          a12412017 2OlA I kno a kid who '12 ihat is super gay n always talk;n bout sucking
412412017 20124          8l24l2o'17 20:24 U thet

81241201720:27           A1241201720.27 h.is-.h!99.@9k.'                                          'i:,                 i'                                               :ri.:: ..-.:l::-=:::'... ., . .::.,.. .'.:                                    '

812412017 20:27          Al24l2O17 20.27 Oh
812412017 20,27          Al24l2O17 20:27 Did u sallow his stuff
8t2412017 20.2A          At24l2O17 2O:2A Oo yirii ana- the 12 year old    sMp bjs?
812412017 20:24          al24n117 20:2A no but maybe
AXXXXXXXX 2O:2A          al24l2117 20128 l'm s€red he will lell
812412017 2O2A           al24no17 202a Yes I did and liked it too
812412017 20:29          812412017 2029 *it isihuays a ipnerii'.., :.
at24l2l17 2O:2g          8t24t2017 2o:2g he lives ciosle to mf uncte tho so I see him tots
412412017 20:30          812412017 20:30 Culd u come tonight
al24l20172o|30al24l20,l720:3oForusboth,w6:hdvetoomuchtoiooseiotellanyone;:.].
812412017 20:31          8124t2017    20:31 yealtue
Al24l2O17 20:31          AXXXXXXXX 20.31 Canltonight       butmaybe     Saturdai                                                                                             '       a   .:

812412017 20:32          812412017 20:32 Ok
8l24AU7 20:32            812412017 20.32 Can I have sex wit u
812412017 20:33          AXXXXXXXX 20.33 Like all theway
                                                                                                                                                                        : . '.                      '::"                                         :
812412017 20,33          At24l2O17 2Ot33 V-ei, iou qn and hopefllly very often       too.                                                                                                .;                i                                                   :
812412017 20:33          812412017 20133 Yes
812412017 20.33          AXXXXXXXX 20:33 Kk
At24l2O17 20.34          At24t2O17 20.34    I   want to see your @ck.
8t24t2117 20:34                       20:34 Aboul to get my sisterlhen
                         8124t2017
                                                                    .' go home                                                                                          .
81241201720:34           8t24l2o172ot34(" lalkli&et.                       '1.                                                          i.r.:          ;-;                        i .....:,.,,,..                                                             .:.
812412017 20:34          al24l2o17 21tg4 Ok
                                                                                                               '                                                                   :: -:ijir:'i:]r'
                                                                                                                                                                                                    :                         .          ::   '1:"i   '
ZilX::,21i11',21         Zi1i3\1:r',1',2\?':T,[ifll:#';'j*su'|iaa'v? 's;rhometomorwrisht
Al24t2O17    21t)g       8t2412017 21:Og Ok I can pick me up at lhe high school football field. I gotia look up the address.

812412017    21:11       AXXXXXXXX 21:11 Kk
812412017    21:12       AXXXXXXXX 21:12 2300 prince slreet, Conway, ar
812412017    21t12       AXXXXXXXX 21:12 The football field is like behind the school
AXXXXXXXX    21:12       AXXXXXXXX 21,12 Pick me up there at 2

8124/2017    21:16       AXXXXXXXX    21:16 Wherwe gona go?

 Et25t2O17    3.29        At25l2O17 3:2g I sent ll already. l'll send it again.
 812512017    3:41        Bl25l2O17 3.41 https://api.textnow.me/media/?h=66b3a4c79803c3c8c3bg73afb4470ee78db263ce96ddce4742e4b'af9194t236
 412512017    3148        Al25l2O17 3:4a Sory I thought it sent earlier but I guess it didn't go thru
812s12017    12:21       AXXXXXXXX 12115.9@dinominil,'          : ,       ,..'                                              ,     .'::..                          .t   ,:",1.:..,1,:i-,i1.,:.,: ,...:Lt.,:                                                     ',
Al25l2O17    12121       812512017 12t21 Moming
812512017    12:22       8125t2017 12:22 I hate going to school in the momings     @
412512017    12:24       812512017 12:24 Wrl u doin2day?



                                                                                                                                                                                                           B              GOVERNMENT
                                                                                                                                                                                                           E                         offiBr
                                                                                                                                                                                                           E+-
                                                                                                                                                                                                           H
                    Case 4:18-cr-00534-DPM Document 50-3 Filed 10/12/21 Page 2 of 3




812512017  12:25     8125t2O17 12:25 I am going io rcrk
812512017  12:27     812512017 12:27 I been thinking bout it like all the time. I dare u to come get me todayl
a12512017  12.29     al25l2o17 12:29 l Ai ib6ut 7 PM :                                   l:i .: -' '      :                                                                                         .       .',...
8l25l201712:3o8l25l201712:30Maf,.bealittleeadier.]:::.,.':.
812512017 12:30      812512017 12:30 Can u come sooner am I €n leave school
8125t2017 12:31      812512017 12:31 U culd skip work n I cutd skip school C
Al25l2O17 12.32      8/2512017 12i32 6:30 is earliest               .         ' ,'
 8t25t2017 12133      8t2512017 12.33 Kk. want me to see if mom will let me spend lhe nighl sumwhere then I culd slay out all nile
Al25l2O17 12134      al25l2o17 12134 I just gotta be home 2moro morning
412512017 12134      Al25l2O17 12t34 Or I @ld slay out unlil probs '10
412512017 12:37      812512017 12:36OK,,yourcrkthatouiwithygglmom,                letinek0ov.. lamgoingtorcrkno!q. liopeyo!.e?t:.qQ.il,.;;,,1 :..:                                                                        :,,.11
812512017 12142      812512017 12142 l'll text her an let u kno. lf she lets me then maybe u €n get a motel an we €n stay ther so we nol jus in ur €r. That @y we                           can do it all the waylllll
8l25l2o17,l2:43al25l2o1712:43.ok.:'-.:.-i]:'.i
at25t2}171244        8t25t211712.441can'rwairtofinailytryitillll S
al25l2117 15:40      8/25120'17 15:40 She said I culd slay al Landon's so I gonna gel a room?
412512017 15:41      812512017 15,41 I mean u
Al25l2O17 15:41      Al25t2O17 15:41 @
Al25l2O17 17:22      Al25l2O17 17122 School sux
412512017 18:21      812512017 18.21 U thet?
Al25t2O17 14125      4125t2017 18:25 Ok, tell me where to pick you up.
812512017 18:33      812512017 1a133 Nov/?
412512017 18133      812512017 18133 Come to the school
812512017 18:34      812512017 1A:34 Or u mean tonight lol
812512017 18:35      8125t2017 1't3'Cootioi" ienbeihere,by.T.P.!4t-o..rliS!'!!.,.:.,_.-..:... , , ....1 .;; ,1 ,.                                                                                                             :'
812512017 18:35      412512017 1435 Oh ak. Go to the football field. I can walk there an u can pick me up. R u gonna get a room?
Al25l2O17 1A:3A      Al25l2O17 18:38!amin.!il!!EBock. lwill@llioijwhenlarhalmostlhere. Yes, re@ngeta rcom.
Al25l2O17 1A:3a      812512017 1A3A Ok I sent u the address earlyer
Al25l2O17 1A:39      A!2512017 18:39 Send me a face pictuc and whole body phoki. Yes, I iave the address.
812512017 1a:43      812512017 18143 l'm in class
8l25l201718|498l25l201718|469i,|::i,iifieiiyougetouttakeas6lfefo.f!e:.:.:]i::j.
812512017   19:14          812512017 19:10 Do you like beer orwine?
81252017    19:19          812512017 19:19 I love beerllllll
812512017   19:21          812512017 19:21 Ot, l1l have              qooE
                                                                  . ..    ..,:    i.,
812512017   19:54          8125/2017 19:54 An I have a younger brother and sisler
812512017   19t55          812512017 19t55 ln class selfie for u
812512017   19:55          812512017 19:55 htlps://api.texlnow.me/med ial?h=9d707b37c'l f6d705c6ba2562bb614212cts21514e40eea8782fead5b66b1                             1   dBTe
812512017   19.56                                                I
                           812512017 19:56 My sister is and my kik bro is 5


a12512017 19:57            812512017 19:57 15
412512017 19:57            8/2512017'19:57 91h grade
al25l2j17 19:57            8/25/2017   19:57 Is that ok?
                                                                                                                                   -'.'r"
al25l2o17 19:58            8/2512017   19:5BYes;           llikelhat.Anieyouirgock.              '   ,.,.'              ,                              .:::..":.1:                    .     :','            ..,
8t2512017 19:58            8/2512017   19:5S @@
812512017 19:58            8t2512017   19:5a Wanl me to bring my lit uro tnen               @@ @ @ @ @ @
412512017 19159            Al25l2O17   19159   Jk
8t25t201720:OO                                                                              .                                                            I :                                   "....,,.,..::.,.          -.'i'
                           al25l2o172o:ooboyciupiaywlttihis'peniig$                                                                                                               ;,i1::-
812512017 20102            812512017 20102 No but I look at il lol
412512017 20:04            812512017 20:04 Nevertouched it
812512017 20105            812512017 2OtO5 Does            he   se   look at   youE?'   ,   I
812512017 20t06            812512017 2O|OO Yea
Al25l2O17 20:07            Al25f2O17 20:07 He will want to touch youre soon, maybe even n;ant to             pliy with it   1oo.            ..   . .    :'

812512017 20104            812512017 2OtO8 l'd lelhim
812512017 20:12            812512017 20:12 Would u suck him
A125t2O172014              At25t2O1720j4No, justl@young.Wouldyou?
AXXXXXXXX 20:14            812512017 20:14 No cuz he @ld probz iell


812512017 20j8      8125t2017 20:18 Ok my moms pic.king me up to go get shoes and then eal Text me when u in Conway an l'll walk                             to foolball field.
812512017 20:19     812512017 20119 Do u got a truck if ride my bike?
A125t2017 20.20     8t2512017 20:20 Ok, e @t
a12512017 20:20     812512017 20:20 Ok      walk    I'11

AXXXXXXXX 22:02     a12512017 22:02 Did u say 6:30 or 7
812512017 22:11     a12512017 22.11 Just going to eat now
812512017 22,15     812512017 22,19 U lhet
812512017 22:34     Al25l2O17 22:34 l'm sooooooo ready
8l25l2o1722.408l25l2o1722:4ocoN}orilamtorkinglate::,:enietlyou?.'......
412512017 22,40     412512017 22.40 U not coming?
812512017 22:41     Al25l2O17 22:41 I'm with my mom right now
812512017 22.41     812512017 22:41 Call me.when iou €n-         ,. ,                                                                                                             ::;::            ... .,   ::...        ,:    ,   .

812512017 22:42     412512017 22:42 R u coming or not cuz I gotta all Landon if u not
Al25l2O17 22:43     Al25l2O11 22:43 Wl
8125t2017 22:43     812512017 22:43 i.c{ntput t.win1 to ome jetyou Sundal. :, .., , '        ,                                                                                                                                         .
812512017 22:45     Al25l2O17 22.45 This gonna fuck up my hole night. U was never gonna come u jus wanted pics.
812512017 22:46  0
812512017 22:47     412512017 22:47 I'm eating wit my mom
AXXXXXXXX 22:47     A/2512017 22:47 Nowwut am I sposed to do
81251201722,47      41251201722,47 httpr/s3.amazonaws.@m/TN-Prod-Voicemail/3433dd88-89e7-11e7-bac0-67b71770c8bf-'15014825048                                         %2819519923500.wav
812512017 22.47     AXXXXXXXX 22,47 I told Landon I wasn't gonna be lher
812512017 22:49     Al25l2O17 22,49 Hello?????
812512017 22:51     Al25l2O17 22:5'l l'm nol sending u no more nothing

Al25l2O17   22:52          Al25l2O17 22:52 Wut am I sposed to do all night now tho

812512017 23:01            Al25l2O17 23:01 How I kno u gona show up Sunday
81251201723104             41251201723:04Helllllllloooooooooo?
81251201723:07             4125A01723:07y9a.rave_1oiru_stme...imntyontyo.ungipckilr:,,,..:
812512017 23:AB            812512017 23:04 When then on Sunday n this is bullsh;t I think ur nol really even gona show up
812512017 23:11            812512017 23.11 I am fEe all day Sunday.
812512017 23:11            Al25l2O17 23111 I gotla go to church wil my mom so like at 2
812512017 23.15            Al25l2O17 23:15 l'm pissed off tho lhis is bs u shoulda not blew me off
                     Case 4:18-cr-00534-DPM Document 50-3 Filed 10/12/21 Page 3 of 3




8n5t2017 23i16
U2512017 23118                                                                            ur   llE€    n
Ar25l2O'17   23i19
al25Do'17 23t20         Al25nO17 23:20 I wifi @ll u Sunday when u iext   re
g25no17 23122           gASnOtZ ZS,Z:
81258017 23:23          at25Do17 23:23 ll u sho up for Bal
812512017 23:24         U25nO17 29:24vfry u work so late
Al25nO17 23:25          8125DO17 23:25 An il u rcrk until 1 0 why u say u   res   gona   ome   al 7?   @
a25t2017 23'.32         Al25nO17 23:32well?
A|25DO'17 23:37         8n5EO17
Al25DOl7 23:37          Al25nO17 23:37           u
al25f2o17 23141         Al25l2O17 23,41
Al25l2O17 23i41         ADSI2O17    23t41          lo the movi6 wil mm. Text me
8125D017 23'.6          8n5no17
An5nO17 23:47           8t25r2o't7 23147 K
8125f2o17 23:51         8D5Do17 23t51 Betier make it up !o me
Al25r2O17 23:52         8nil2017 29t52
 A126AA17 O:OO          4125f2017
 el26l2A17 o:02          Af8l2O17 O,02
 gl26DO17 O:03            at%na17
81272017 14139          il27no17 14139
ADTnOll      14:41      A27Ea17'14i4'l
Al27l2O17'14:43         AD7|2O17 14143
AD7|2O17'14145          at27t2017
a1212917 14,47          AI27DO17 14:47                                                            u u,hen u   lher so   l.xl re when   u al   lh6
AWDO1714:47             AL27DO17 14:4
8t27l2o'17 14:4A        8r27D417 ilt4g
U2mO17'14:49            aD7t2017
aD7nO17 14:19           AD7nO17 14145
il27r2017 14151         A|27PO17 14151
812il201714t%           at27m17 14:
an7Do17 1alo3           8t27t2017
u27n017   18117         Al27l2li 1A:17      r*
8D7r20'17 '19:19        A|27DO17 1919       fesl
